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     IT IS ORDERED as set forth below:




     Date: July 1, 2019


___________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                          AUGUSTA DIVISON


        GERALD HENDERSON                                CHAPTER 7
        TIFFANY FLOURNOY                                CASE NO. 19-10015
                  DEBTORS,




                                                  ORDER
               Notice having been given and no objections having been filed,

               IT IS HEREBY ORDERED that the Debtor be allowed to redeem the property

               described as: Blackbox set, Skateboard, two rings and two bracelets by paying the

               creditor, Army & Air Force Exchanged SVC- Military Star the sum of $350.00

               within ten (10) days of the entry of this Order, and finding that the remainder of the

               claim of said creditor is a dischargeable consumer debt.

                                         [END OF DOCUMENT]
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    Submitted by:
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